Case 2:17-cv-05217-JMA-AKT Document 11 Filed 06/03/18 Page 1 of 1 PageID #: 50




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

Stephanie Roman,

                       Plaintiff,
                                                        Docket No: 2:17-cv-05217-JMA-AKT
                        -against-

Global Credit & Collection Corp.,

                      Defendant.


                        STIPULATION OF VOLUNTARY DISMISSAL
                           PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or

their respective counsel(s) that the above-captioned action is voluntarily dismissed with

prejudice pursuant to the Federal Rules of Civil Procedure 41(a)(1)(A)(ii) with each party to bear

its respective attorney's fees and costs.

Dated: June 3, 2018

PELTAN LAW, PLLC                                  BARSHAY SANDERS, PLLC

By:    /s David Peltan                            By:     /s David M. Barshay
David Peltan, Esq.                                David M. Barshay
128 Church Street                                 100 Garden City Plaza, Suite 500
 East Aurora, New York 14052                      Garden City, New York 11530
Tel: (716) 374-5431                               Tel. (516) 203-7600
Attorneys for Defendant                           Email: ConsumerRights@BarshaySanders.com
                                                  Our File No: 113066
                                                  Attorneys for Plaintiff
